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oNITED sTATEs DISTRICT CoURT _ : _ fill/ij
FoR THE wEsTERN DlsTRICT 0F TENNESSEE _` ,, - \
wEsTERNDIvIsIoN LJ §§ .'i,a;=.= ::.-§3
ERIC 0. MooRE,
_ _ Piaimirf, .
vs._ ~ " "’ ‘ - ca;e'NO. 0'4-2'365_1) ij

DRUG ENFORC.EMENT' AGENCY,

  
 

Defendant.

 

 
 

MOTION TO REINSTATE

moves this Court for an order to reinstate the above entitled case to the regular trial
docket on the following grounds:

Movant states that service of summons and process was effectuated upon the
Det`endant-D.E.A. on or about Novernber 2, 2004, by certified U.S. Mail return receipt
requested (See composite Exhibit “1” attached). Since said time, two (2) amended
petitions have been filed and served upon Defendant-D.E.A.

l\/lovant’s attorney also states that lie never received notice ofthe April 21` 2005
scheduling conference
tp l . WHEREFORE, Movant respectfully requests that the Or<_;}er oltConditional
Disrnissal, entered April 25, 2005. be dismissed and held for naught and that this action

be placed on the regular trial docket

 

U.S. DISTR|CT JUDGE

Thi's document entered on the docket sheet |ri eomrpliance
Wiih nine ss and/or 79(3) FacP on ""' ’ '7\)

Case 2'04-cv-02865-BBD-dkv Document 8 Filed 05/24/05 Page 2 of 3 Page|D 13

Respectfully submitted,

     

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liandel R. Durhan‘i, Jr.
Attorney for Movant
100 N. l\/lain Bldg., Suite 2601
Memphis, Tennessee 38 l 03
Tel. No. (901) 543-0866

1 Fax No. (90]) 543-0865

Certiflcation
l, hereby certify that a copy of the foregoing Motion to Reinstate was hand
delivered to Christopher Cotton, Assistant U.S. Attorney, 167 N. Main St., Suite 800,
Mernphis, Tennessee 38103, and Was forwarded by ordinary U.S. Mail to Richard A.
Medema, Senior Attorney, Asset Forfeiture Section, D.E.A., HQs Forfeiture Response,

P.O. Box 1475, Quantico, Virginia 22134-1475, this 16th day of May, 2(?<
t ’ ,
AX/vl $i/_/`(A'/l~ GC{

Attomey for Movant

(2)

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:04-CV-02865 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listedl

 

Handel R. Durharn
DURHAM & ASSOCIATES
100 North Main St.

Ste. 2601

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

